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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,

                  Plaintiff,

      v.                                  Crim. Action No.: 1:20-CR-69
                                                        (Judge Kleeh)

JOSHUA DYLAN ARMSTRONG,

                  Defendant.

    ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
      CONCERNING PLEA OF GUILTY IN FELONY CASE [DKT. NO. 14],
       ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

      On October 19, 2020, the Defendant, Joshua Dylan Armstrong

(“Armstrong”), appeared before United States Magistrate Judge

Michael J. Aloi and moved for permission to enter a plea of GUILTY

to Count One of the Information, charging him with Transfer of

Obscenity to a Minor, in violation of Title 18, U.S.C. § 1470.

This Court referred Defendant’s plea of guilty to the magistrate

judge for the purpose of administering the allocution, pursuant to

Federal Rule of Criminal Procedure 11, making a finding as to

whether    the   plea   was   knowingly   and   voluntarily   entered,   and

recommending to this Court whether the plea should be accepted.

Armstrong stated that he understood that the magistrate judge is

not a United States District Judge, and Armstrong consented to

pleading before the magistrate judge.
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      Based upon Defendant Armstrong’s statements during the plea

hearing     and   the   Government’s         proffer   establishing       that   an

independent factual basis for the plea existed, the magistrate

judge found that Defendant Armstrong was competent to enter a plea,

that the plea was freely and voluntarily given, that he was aware

of the nature of the charges against him and the consequences of

his plea, and that a factual basis existed for the tendered plea.

The magistrate judge issued a Report and Recommendation Concerning

Plea of Guilty in Felony Case (“R&R”) [Dkt. No. 14] finding a

factual basis for the plea and recommending that this Court accept

Defendant    Armstrong’s    plea    of       guilty    to   Count   One    of    the

Information.

      The magistrate judge also directed the parties to file any

written objections to the R&R within fourteen (14) days after

service of the R&R.         He further advised that failure to file

objections would result in a waiver of the right to appeal from a

judgment of this Court based on the R&R.                Neither the Defendant

nor the Government filed objections to the R&R.

      Accordingly, this Court ADOPTS the magistrate judge’s R&R

[Dkt. No. 14], provisionally ACCEPTS Defendant Armstrong’s guilty




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plea, and ADJUDGES him GUILTY of the crime charged in Count One of

the Information.

      Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

the Court DEFERS acceptance of the proposed plea agreement until

it has received and reviewed the presentence investigation report

prepared in this matter.

      Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS the

following:

      1.    The Probation Officer shall undertake a presentence

investigation       of   Armstrong,       and   prepare     a    presentence

investigation report for the Court;

      2.    The    Government   and   Defendant      Armstrong   shall     each

provide    their   narrative    descriptions    of    the   offense   to   the

Probation Officer by November 19, 2020;

      3.    The presentence investigation report shall be disclosed

to Defendant Armstrong, counsel for Defendant, and the Government

on or before January 18, 2021; however, the Probation Officer shall

not disclose any sentencing recommendations made pursuant to Fed.

R. Crim. P. 32(e)(3);

      4.    Counsel may file written objections to the presentence

investigation report on or before February 1, 2021;

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      5.    The Office of Probation shall submit the presentence

investigation report with addendum to the Court on or before

February 16, 2021; and

      6.    Counsel may file any written sentencing memorandum or

statements     and     motions    for   departure   from   the   Sentencing

Guidelines, including the factual basis for the same, on or before

February 16, 2021.

      The magistrate judge remanded Defendant to the custody of the

U.S. Marshal Service.

      The Court will conduct the Sentencing Hearing for Defendant

on March 1, 2021, at 12:30 P.M., at the Clarksburg, West Virginia

point of holding court.          If counsel anticipates having multiple

witnesses    or   an   otherwise    lengthy   sentencing   hearing,   please

notify the Judge’s chamber staff so that an adequate amount of

time can be scheduled.

      It is so ORDERED.




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      The Clerk is directed to transmit copies of this Order to

counsel of record and all appropriate agencies.

DATED: November 9, 2020.


                                    /s/ Thomas S. Kleeh
                                    THOMAS S. KLEEH
                                    UNITED STATES DISTRICT JUDGE




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